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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION
Gayle Foltin, et. Al.,                       )
                                             )    Case No.: 09 C 5237
       Plaintiffs,                           )
                                             )    Judge Lefkow
               v.                            )
                                             )
Police Officer Ugarte, et. al.,              )
                                             )
       Defendants.                           )    Jury Demanded

                                                                                                                                                                                                                     MOTION TO SUBSTITUTE COUNSEL
                                                      Defendant Police Officer Ugarte (herein referred to as “defendant”) by one of his undersigned

attorneys, respectfully requests leave to substitute Andrew Hale, Avi Kamionski and Suyon Flowers

of Andrew M. Hale & Associates as counsel of record and to withdraw the appearance of Assistant

Corporation Counsel Jonathan Clark Green. In support of this motion, the undersigned states:

                                                      1.                                                     Plaintiffs filed their Complaint naming several defendants on August 25, 2009.1

                                                      2.                                                     Plaintiffs filed an Amended Complaint on December 4, 2009.

                                                      3.                                                     Jonathan Clark Green of the Corporation Counsel’s Office represented and currently

has an appearance on file for the individual defendant.

                                                      4.                                                     Defendant Ugarte filed his Answer to the Complaint on October 26, 2009.2

                                                      5.                                                     The undersigned counsels at Andrew M. Hale & Associates were assigned to represent

the defendant on March 8, 2010.




	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1	  On                          December 4, 2009, Police Officer Vivncio was terminated from the case.	  (See Doc. No. 17).	  
	  
2	  On
   December 4, 2009, the Court ordered that the Answer of Defendant Ugarte shall stand as answer to the amended
Complaint.	  (See Doc. No. 19).	  
	                                                                                                                                                                                                                                 1	  
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       6.       The undersigned counsels, Andrew Hale, Avi Kamionski, and Suyon Flowers of

Andrew M. Hale & Associates seek leave to file their appearance and substitute in as counsel of

record on behalf of defendant.

       7.       Jonathan Clark Green seeks leave to withdraw his appearance.

       WHEREFORE, Defendant respectfully requests that Andrew Hale, Avi Kamionski, and

Suyon Flowers be given leave to substitute in as counsel of record, and that Jonathan Clark Green be

allowed to withdraw his appearance.

                                                          Respectfully Submitted,



                                                          /s/ Jonathan Clark Green
                                                          One of the Attorneys for Defendant

                                                          /s/ Suyon Flowers
Andrew M. Hale                                            One of the Attorneys for Defendant
Avi Kamionski
Suyon Flowers
Andrew M. Hale & Associates
53 West Jackson, Suite 1800
Chicago, Illinois 60604
(312) 341-9646




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